     Case 3:11-cr-01294-L   Document 112   Filed 04/24/12   PageID.325   Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA F\L


UNITED STATES OF AMERICA,                  CASE NO. 11CR1

                       Plaintiff,                      9'(~[1f"'~j'~"
               vs.                         JUDGMENT OF DISMISSAL
KYRSTEN ANN NIKZAT (1),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

    the Court has granted the motion of the Government for dismissal,
    without prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

~   the jury has returned its verdict, finding the defendant not guilty;

~   of the offense(s) as charged in the Indictment/Information:

      21:952 AND 960 - IMPORTATION OF METHAMPHETAMINE



          IT IS THEREFORE ADJUDGED that the defendant is


DATED: APRIL 20, 2012
